UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DEUTSCHE BANK NATIONAL TRUST
COMPANY, solely in its capacity as
Trustee for the MORGAN STANLEY
STRUCTURED TRUST I 2007-1,

                     Plaintiff,      No. 14-CV-3020(LTS)(AJP)
                v.
                                     ORAL ARGUMENT REQUESTED
MORGAN STANLEY MORTGAGE
CAPITAL HOLDINGS LLC, as
Successor-by-Merger to MORGAN
STANLEY MORTGAGE CAPITAL INC.,

                     Defendant.



            PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
              DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


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                                             Structured Trust I 2007-1

June 22, 2017
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                                       INTRODUCTION

       This case concerns a residential mortgage-backed securitization in which Morgan Stanley

knowingly conveyed a pool of defective mortgage loans to the Morgan Stanley Structured Trust I

2007-1 (the “Trust”)

                                    . Expert reunderwriting has revealed that, due to Morgan

Stanley’s grossly negligent conduct, most of the loans in the Trust materially breach one or more

representations and warranties. Genuine issues of material fact preclude summary judgment on

many of the issues Morgan Stanley raises, and the rest fail as a matter of law.

       Morgan Stanley first argues that the Trustee’s case is limited to the loans in its sample.

Its theory is evidently that the Court intended a bait and switch when it ordered the parties to

proceed through discovery on a “sampling basis.” That is plainly not the case. Morgan Stanley

next argues that sampling is not permitted under the contracts. But the securitization agreements

are silent on what methodology the Trustee may use to prove its case. Court after court has

embraced sampling as an efficient methodology for proving breaches and the resulting damages

in cases against sponsors, sellers, or originators who made representations and warranties or

originated the loans in residential mortgage-backed securitizations, notwithstanding the presence

of sole remedies clauses.

       Morgan Stanley’s arguments regarding sampling fail for the independent reason that the

sole remedies clause is unenforceable due to Morgan Stanley’s gross negligence. Morgan

Stanley recognizes that, under New York law, exculpatory clauses like the sole remedies clause

here are unenforceable when the defendant acts with gross negligence. Its assertion that that

principle does not apply in this case has been directly rejected by the First Department. And

while Morgan Stanley incorrectly claims that the Trustee has offered insufficient evidence of
gross negligence, it does not dispute that gross negligence is a quintessential fact issue that

catmot be resolved on summaty judgment.

        Morgan Stanley also argues that the Tmstee's relief must be limited to loans that were the

subject of pre-suit breach notices. This Court rejected that exact same argument in denying

Morgan Stanley's motion to dismiss, holding that the Tmstee's breach notices were sufficient as

a matter of law to put Morgan Stanley on notice of breaches throughout the Tmst. That is the

law of the case, and Morgan Stanley should not be permitted to reargue the point here. The First

Department and other judges in this district have also rejected Morgan Stanley's argument,

holding that so long as a securitization tmstee serves a timely pre-suit breach notice that puts the

defendant on notice that it may identify additional breaches, any breaches discovered during

litigation relate back to the complaint.

        Morgan Stanley's motion should be denied in its entirety, and the case should proceed to

trial at the earliest available date.

                                              BACKGROUND
I.      THE MSST 2007-1 SECURITIZATION

        A.


        Morgan Stanley served as the Sponsor of this securitization, which created the Morgan

Stanley Stmctured Tmst I 2007-1 (the "Trust"), for which Plaintiff serves as Trustee. See Pl. 's

56.1 Resp. ~~ 1-2. 1 Through a Mortgage Loan Purchase Agreement ("MLPA"), Morgan Stanley

selected 4,374 mot1gage loans for securitization in the Tmst and sold an initial pool to a Bear

Steams subsidiaty. Weinstein Decl. Ex. F (MLPA); Pl.'s 56.1 Resp. ~8?


1
  "Pl. 's 56.1 Resp." refers to Plaintiff' s Response to Defendant's Local Civil Rule 56.1 Statement of Undisputed
Material Facts and Plaintiff 's Statement of Additional Facts.
2
  "Weinstein Decl." refers to the Declaration ofBrian S. Weinstein (Dkt. 114).



                                                        2
                                The loans served as collateral for residential mortgage-backed

securities (“RMBS”), known as “certificates,” that the Trust issued to certificateholders, who

receive income from the Trust as borrowers repay their loans. See id. ¶¶ 6-7; Weinstein Decl.

Ex. B (“PSA”) § 6.04(a) (distributions to certificateholders).




                                                          These loans were the worst of the worst.




                                                 3
    .




4
       B.      Morgan Stanley’s Contractual Obligations

       Even though Morgan Stanley knew the loans were defective, it made or stood behind an

extensive series of representations and warranties guaranteeing that the loans in the Trust met

minimum quality standards.       See Weinstein Decl. Ex. F (“MLPA”) § 10(a), (b)(1)-(24);

Weinstein Decl. Ex. I (“AARA”) Ex. B. With respect to every loan, Morgan Stanley represented

that the information in a “Mortgage Loan Schedule” – a document containing extensive

information about the loans – was “complete, true and correct.” MLPA § 10(a)(1).

       For loans originated by one of eight originators (the “MSMCH Represented Mortgage

Loans”), Morgan Stanley made additional representations and warranties. It represented that

“[n]o fraud, error, omission, misrepresentation, negligence or similar occurrence with respect to

a MSMCH Represented Mortgage Loan has taken place on the part of MSMCH, or, to the

knowledge of MSMCH, any other person . . . involved in the origination of the MSMCH

Represented Mortgage Loan.” MLPA § 10(b)(5). It represented that “[t]he Mortgage File

contains an appraisal of the related Mortgaged Property” that “satisf [ies] the requirements of

Fannie Mae or Freddie Mac and Title XI of the Financial Institutions Reform, Recovery, and

Enforcement Act of 1989 and the regulations promulgated thereunder.” Id. § 10(b)(20). And it

represented that “[n]o MSMCH Represented Mortgage Loan has an LTV [i.e., loan-to-value

ratio] greater than 100%.” Id. § 10(b)(21).

       In an Assignment and Recognition Agreement, one of the originators, Accredited Home

Lenders, Inc. (“Accredited”), made its own representations and warranties that largely track

those Morgan Stanley made. See AARA Ex. B. For example, Accredited represented that “[n]o

fraud, error, omission, misrepresentation or similar occurrence with respect to the origination of

a Mortgage Loan has taken place on the part of any Person . . . involved in the origination of the

Mortgage Loan.” Id. ¶ (k). It represented that “[t]he Mortgage File contains an appraisal of the


                                                5
related Mortgaged Property” that “satisfie[s] the requirements of Fannie Mae or Freddie Mac and

Title XI of the Financial Institutions Reform, Recovery, and Enforcement Act of 1989 and the

regulations promulgated thereunder.” Id. ¶ (nn). And it represented that “no Mortgage Loan had

an LTV at origination greater than 100%.” Id. ¶ (o).

       To back up those representations and warranties, Morgan Stanley agreed to repurchase

any loan that materially breached “a representation or warranty set forth in this Section 10 [of the

MLPA], within 90 days from the date of discovery by [Morgan Stanley], or the date [Morgan

Stanley] is notified . . . of such breach.” MLPA § 10 (emphasis added). Morgan Stanley also

agreed to repurchase breaching Accredited Loans. Id. § 10; Pl.’s 56.1 Resp. ¶ 40.

II.    MORGAN STANLEY’S BREACHES OF ITS CONTRACTUAL OBLIGATIONS

       A.      Morgan Stanley’s Breaches of Representations and Warranties

       Morgan Stanley knew back in 2007 that the pool of loans it sold to the Trust was rife with

breaches. But due to Morgan Stanley’s failure to advise the Trustee about any of those defects,

the Trustee did not become aware of the breaches until years later. On April 2, 2013, the Trustee

received a letter                                      advising it of “material and adverse breaches

of representations and warranties by Morgan Stanley” in 1,620 loans – over one-third of the

loans in the Trust. Pl.’s 56.1 Resp. ¶ 59. On April 4, the Trustee sent a repurchase demand to

Morgan Stanley that attached the April 2 letter. Id. ¶ 60. That notice specifically stated which

loans were in breach of which representations and warranties and provided a detailed explanation

of why each loan was in breach. Id. In addition to identifying specific breaching loans, the

Trustee stated that the “repurchase request reflect[ed] only current findings,” that loan review

was ongoing, and that the Trustee “reserv[ed] [the] right to give notice of additional breaches.”

Id.




                                                 6
B.   Morgan Stanley’s Failure To Repurchase Nearly All Breaching Loans




                                 7
       C.      Morgan Stanley’s Admissions of Grossly Negligent Conduct Pertaining to
               This Trust

       Confirming the evidence uncovered during discovery in this case, in February 2016,

Morgan Stanley expressly admitted to a pattern of grossly negligent conduct in a Statement of

Facts accompanying a $2.6 billion settlement with the Department of Justice that covers this

Trust. Pl.’s 56.1 Resp. ¶ 154. Morgan Stanley acknowledged that it was well aware of the

“problematic lending practices of the subprime originators from which it purchased mortgage

loans.” Id. ¶ 155 (emphasis added). Yet it “clear[ed] dozens of loans for purchase after less than

one minute of review per loan file.” Id. ¶ 156 (emphasis added).

       Morgan Stanley acknowledged that it knew that “loans that did not comply with

underwriting guidelines and lacked adequate compensating factors and/or had understated loan-

to-value ratios were included in the RMBS sold.” Pl.’s 56.1 Resp. ¶ 157. It acknowledged that

its “finance team, which was responsible for purchasing and securitizing loan pools but not

underwriting or due diligence, instituted a procedure whereby the finance team considered

[purchasing] certain loans that Morgan Stanley’s credit-and-compliance due diligence process

had already recommended should not be purchased.” Id. ¶ 158 (emphasis added). Through that

procedure, the finance team “decided which of the[ ] loans had ‘acceptable risk.’ ” Id. Morgan

Stanley “ultimately purchased and securitized hundreds of loans through this process.” Id. ¶ 159.

As a result, as Morgan Stanley knew, many of the loans it securitized, “did not conform to

Morgan Stanley’s representations.” Id. ¶ 160 (emphasis added).

       Morgan Stanley took pains to conceal its wrongdoing. For example, Morgan Stanley’s

Vice President of Valuation, who was responsible for due diligence on the properties securing

the loans Morgan Stanley securitized, admonished an analyst for using the phrase “slightly




                                                8
higher risk tolerance” in writing because Morgan Stanley was “running under the radar and

d[id] not want to document these types of things.” Pl.’s 56.1 Resp. ¶ 161 (emphasis added).

III.   PROCEEDINGS BEFORE THIS COURT

       A.      The Trustee’s Complaint

       After Morgan Stanley refused to repurchase all but a handful of breaching loans, the

Trustee filed a timely complaint seeking to vindicate the rights of certificateholders in the Trust.

Dkt. 2. The Trustee brought claims for breaches of representations and warranties and alleged

that the breaches were “grossly negligent” because “the Loans were made without following

minimal underwriting standards or verifying basic critical information about mortgage

borrowers.” Id. ¶¶ 45, 70-83. The Trustee alleged that it provided adequate notice of the 1,620

loans specifically identified in the April 2013 breach notice and that Morgan Stanley discovered

additional breaches “on its own.”        Id. ¶¶ 77-78.    Among other relief, the Trustee sought

“compensatory damages for the harm [Morgan Stanley] has caused the Trust.” Id. ¶ 79.

       B.      This Court’s Ruling on the Motion To Dismiss

       Morgan Stanley moved to dismiss, and the Court denied the motion in pertinent part.

Dkt. 47.    The Court ruled that the Trustee’s pre-suit notice was more than adequate:               It

“unquestionably identified 1,620 of the 4,374 loans in the Trust as defective.” Id. at 6. Citing

Judge Rakoff ’s decision in Assured Guaranty Municipal Corp. v. Flagstar Bank, FSB, 920 F.

Supp. 2d 475 (S.D.N.Y. 2013), the Court held that the Trustee’s breach notice was sufficient to

provide Morgan Stanley with “constructive notice” of breaches throughout the Trust. Dkt. 47,

at 7. The Court thus denied Morgan Stanley’s motion “insofar as it [sought] dismissal of

Plaintiff ’s claims relating to defective loans not specifically identified in the breach notice.” Id.

       The Court also rejected Morgan Stanley’s argument that it was not required to repurchase

Accredited loans.     Dkt. 47, at 7-9.       It held that the “MLPA does not by any means


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unambiguously relieve [Morgan Stanley] of liability for Accredited’s breaches.” Id. at 9. Thus,

Morgan Stanley “has an obligation to repurchase defective Accredited Loans.” Id.

       Finally, the Court rejected Morgan Stanley’s argument that the Trustee’s remedy was

limited to “ ‘payment of the repurchase price.’ ” Dkt. 47, at 12. The Court recognized that,

“[u]nder New York law, contractual provisions limiting liability ‘will not preclude recovery in

. . . breach of contract where the losses are the result of gross negligence.’ ” Id. at 14 (quoting

Gold Connection Discount Jewelers, Inc. v. Am. Dist. Tel. Co., 212 A.D.2d 577, 578 (2d Dep’t

1995)). The Court deemed a ruling on gross negligence premature, but noted that “many courts

have awarded money damages, notwithstanding sole remedy provisions, ‘equivalent to what the

defendant would pay were performance possible’ in situations in which properties have been

foreclosed or specific aspects of the prescribed remedy mechanism are no longer feasible.” Dkt.

47, at 14-15 (quoting ACE Sec. Corp. Home Equity Loan Trust, Series 2007-HE3 ex rel. HSBC

Bank USA, Nat’l Ass’n v. DB Structured Prods., Inc., 5 F. Supp. 3d 543, 554 (S.D.N.Y. 2014)).

       C.      This Court’s Preliminary Approval of Sampling

       The last time the parties were before the Court, in May 2015, the Court ruled that the

parties could proceed through discovery on a “sampling basis.” Dkt. 53. The Court instructed

the parties to “take a sampling approach to the litigation” and explained that “discovery and the

preparation of expert reports [would] focus on this sample.” Dkt. 54, at 4.

       The Court expressly left open the possibility that, if it did not proceed past discovery on a

“sampling basis,” the Trustee would have the opportunity to prove breaches in loans not in its

sample. In that scenario, the Court explained, “the loans that were examined in the sampl[e] then

would be the first tranche of loans” to be reviewed, and if the parties “end up getting that far

before any consensual resolution . . . we will if necessary undertake the further process of




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adjudication of claims that the plaintiff may wish to assert as to the remaining loans that were not

in the sample.” Dkt. 54, at 4-5.

       D.      Reunderwriting Identifies Breaches in a Majority of Loans

       Heeding the Court’s instructions, the Trustee proceeded on a “sampling basis.”




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                                  STANDARD OF REVIEW

       Summary judgment is appropriate only where “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). The Court must “view the evidence in the light most favorable to the non-

moving party and draw all reasonable inferences in its favor, and may grant summary judgment

only when ‘no reasonable trier of fact could find in favor of the nonmoving party.’ ” Allen v.

Coughlin, 64 F.3d 77, 79 (2d Cir. 1995) (citation omitted).

                                         ARGUMENT

I.     THE TRUSTEE MAY PURSUE DAMAGES               FOR   ALL BREACHING LOANS    IN THE   TRUST
       THROUGH SAMPLING

       A.      The Securitization Agreements Do Not Prohibit the Use of Sampling

       Morgan Stanley asserts that the MLPA prohibits sampling. MS Br. 9-13. It is wrong.

Nothing in the MLPA purports to limit how the Trustee may prove the rate of breaches

throughout the Trust or the damages attributable to those breaches where there is a basis for

seeking that remedy.

       Sampling is a scientific method of identifying the number of breaching loans in the Trust

and calculating damages for those breaches. Court after court has embraced that approach in

RMBS cases against sponsors, sellers, and originators who made representations and warranties

or originated the loans at issue, notwithstanding clauses purporting to limit the available

remedies to repurchase. In Assured Guaranty Municipal Corp. v. Flagstar Bank, FSB, 920 F.

Supp. 2d 475 (S.D.N.Y. 2013), for example, Judge Rakoff held that, notwithstanding a sole

remedies clause, sampling was an “appropriate method of proof ” and expressly approved of



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Dr. Lipshutz’s sampling methodology. Id. at 512. Numerous other courts have agreed that

sampling “is an accepted and useful way of proving liability (and by extension, damages) in an

RMBS case.” Deutsche Bank Nat’l Trust Co. v. WMC Mortg., LLC, No. 12 Civ. 933, 2014 WL

3824333, at *9 (D. Conn. Aug. 4, 2014); see, e.g., MBIA Ins. Corp. v. Countrywide Home Loans,

Inc., No. 602825/2008, 2010 WL 5186702, at *4, 6 (Sup. Ct. N.Y. Cnty. Dec. 22, 2010)

(“Scientific literature and testing is replete with the use of statistical sampling; the validity of

properly conducted sampling is not a question for debate.”); see generally Fed. Hous. Fin.

Agency v. JPMorgan Chase & Co., No. 11 Civ. 6188, 2012 WL 6000885 (S.D.N.Y. Dec. 3,

2012) (rejecting challenge to sampling).

       The MLPA’s sole remedies clause does not foreclose damages. MLPA § 10. This Court

recognized in ruling on the motion to dismiss that “specific performance is an equitable remedy,

and ‘where the granting of equitable relief appears to be impossible or impracticable, equity may

award damages in lieu of the desired equitable remedy.’ ” Dkt. 47, at 14 (quoting ACE Sec.

Corp. Home Equity Loan Trust, Series 2007-HE3 v. DB Structured Prods., Inc., 5 F. Supp. 3d

543, 554 (S.D.N.Y. 2014)) (alteration omitted). Thus, “many courts have awarded money

damages, notwithstanding sole remedy provisions, ‘equivalent to what the defendant would pay

were performance possible’ in situations in which properties have been foreclosed or specific

aspects of the prescribed remedy mechanism are no longer feasible.” Dkt. 47, at 14-15 (quoting

ACE Sec., 5 F. Supp. 3d at 554); see, e.g., U.S. Bank, Nat’l Ass’n v. UBS Real Estate Sec. Inc.,

205 F. Supp. 3d 386, 415 (S.D.N.Y. 2016) (“Trusts may recover money damages in lieu of the

repurchase remedy.”); Nomura Home Equity Loan, Inc. Series 2006-FM2 v. Nomura Credit &

Capital, Inc., 133 A.D.3d 96, 106 (1st Dep’t 2015) (“In the RMBS context, most courts have

repeatedly held that . . . where the granting of equitable relief appears to be impossible or




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impracticable, equity may award damages in lieu of the desired equitable remedy.” (quotation

marks omitted) (collecting cases)).       Morgan Stanley admits that “damages equal to the

repurchase price are available” for liquidated loans. MS Br. 12 n.10.



                  Thus, there is no dispute that a damages award – and therefore sampling – is

appropriate for the overwhelming majority of the loans in the Trust.

       Sampling is appropriate for the additional reason that reunderwriting every loan in the

Trust is not feasible. As courts have recognized in cases against sponsors, sellers, or originators,

forcing securitization trustees to reunderwrite thousands of loans is “commercially

unreasonable,” and thus “sampling may be used to compute damages.” Assured Guar. Mun.

Corp. v. DB Structured Prods., Inc., No. 650705/2010, 2014 WL 3282310, at *6 (Sup. Ct. N.Y.

Cnty. July 3, 2014). For that reason, sampling has long been a “widely accepted method of proof

in cases brought under New York law, including in cases relating to RMBS and involving

repurchase claims.” Assured, 920 F. Supp. 2d at 512; see, e.g., Assured Guar. Mun. Corp. v.

UBS Real Estate Sec. Inc., No. 12 Civ. 1579, Dkt. 86 (S.D.N.Y. Apr. 1, 2013) (allowing

sampling); Syncora Guar. Inc. v. EMC Mortg. Corp., No. 09 Civ. 3106, 2011 WL 1135007, at

*4-5 (S.D.N.Y. Mar. 25, 2011) (sampling permitted because MLPA contains “no limiting

language on the means for enforcement”).

       Where courts have insisted on loan-by-loan reunderwriting in cases like this one, the

process has been unworkable.        For example, after a bench trial in U.S. Bank, National

Association, as Trustee for the MASTR Adjustable Rate Mortgage Trust 2006-OA2 v. UBS Real

Estate Securities Inc., 205 F. Supp. 3d 386 (S.D.N.Y. 2016) (“MARM 2006-OA2”), the court

ruled on only a few illustrative loans and held that it could not “effectively and timely address[ ]”




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the remainder because it lacked the “resources.” Id. at 526. The court appointed a master to

make findings and provided for the appointment of “additional masters” to assist the Lead

Master. Id. Over nine months later, that process is still ongoing with no end in sight.

       Because specific performance of the repurchase remedy is not feasible, the Trustee can

seek damages – a remedy for which sampling is indisputably appropriate in this context. That

the MLPA references obligations to cure “such” breach and to repurchase “the affected

Mortgage Loan” is beside the point. See MS Br. 9 (emphasis omitted). Those descriptions of the

repurchase remedy are irrelevant where there is a basis for seeking damages. There is no “plain

language” that limits the Trustee to any specific method of proving breaches or damages. Id.

And that is what sampling is: a method of proving breaches throughout the Trust and the

damages attributable to those breaches. Morgan Stanley’s argument is nothing more than an

attempt to “rewrite into a contract conditions the parties did not insert . . . under the guise of

construction.” Bank of N.Y. Mellon Trust Co. v. Morgan Stanley Mortg. Capital, Inc., 821 F.3d

297, 307 (2d Cir. 2016).




                                        Nothing in the MLPA prohibits that reliable method of

proving breaches and damages here.

       B.      The Sole Remedies Clause Is Unenforceable Due to Morgan Stanley’s Gross
               Negligence

       Sampling is also appropriate for the independent reason that the sole remedies clause is



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unenforceable due to Morgan Stanley’s gross negligence.

               1.     Sole Remedies Clauses in RMBS Securitizations Are Unenforceable
                      Where a Defendant Acts with Gross Negligence

       In ruling on the motion to dismiss, this Court recognized that, “[u]nder New York law,

contractual provisions limiting liability ‘will not preclude recovery . . . in breach of contract

where the losses are the result of gross negligence.’ ” Dkt. 47, at 14 (quoting Gold Connection

Discount Jewelers, Inc. v. Am. Dist. Tel. Co., 212 A.D.2d 577, 578 (2d Dep’t 1995)). The First

Department has since confirmed that this Court’s ruling was correct.

       In Morgan Stanley Mortgage Loan Trust 2006-13ARX v. Morgan Stanley Mortgage

Capital Holdings LLC, 143 A.D.3d 1 (1st Dep’t 2016) (“MSM 2006-13ARX ”), the First

Department expressly held that a defendant’s gross negligence in an RMBS case renders a sole

remedies clause unenforceable.     The sole remedies clause before the court was materially

indistinguishable from the one here. See id. at 6. And Morgan Stanley advanced the same

arguments as it does here. See id. at 9. The First Department rejected them, holding that the sole

remedies provision was unenforceable based on the “long-standing public policy” that “a party

may not insulate itself from damages caused by its ‘grossly negligent conduct.’ ” Id. at 8

(quoting Sommer v. Fed. Signal Corp., 79 N.Y.2d 540, 554 (1992)); see also Gross v. Sweet, 49

N.Y.2d 102, 106 (1979) (“[T]he law frowns upon contracts intended to exculpate a party from

the consequences of [its] own negligence.”). The court held that the gross negligence exception

“applies equally to a clause that completely exonerates a party from liability as well as to a

clause limiting damages.” MSM 2006-13ARX, 143 A.D.3d at 9.

       This Court should follow that decision. Federal courts applying New York law are

“bound to apply the law as interpreted by New York’s intermediate appellate courts . . . unless

[they] find persuasive evidence that the New York Court of Appeals would reach a different



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conclusion.” Cornejo v. Bell, 592 F.3d 121, 130 (2d Cir. 2010) (quotation marks omitted).

Morgan Stanley offers no evidence that would justify a departure from the First Department’s

decision, which is consistent with a solid wall of authority that pre-dates it. See, e.g., Deutsche

Bank Nat’l Trust Co. v. WMC Mortg., LLC, 2014 WL 3824333, at *18-19 (gross negligence

would render sole remedies clause unenforceable); Deutsche Alt-A Sec. Mortg. Loan Trust,

Series 2006-OA1 v. DB Structured Prods., Inc., 958 F. Supp. 2d 488, 500-02 (S.D.N.Y. 2013)

(similar); MASTR Asset Backed Sec. Trust 2006-HE3 v. WMC Mortg., LLC, 983 F. Supp. 2d

1104, 1115 (D. Minn. 2013) (similar); Deutsche Bank Nat’l Trust Co. v. Decision One Mortg.

Co., No. 2013 L 5823, 2013 WL 6284438, at *5 (Ill. Cir. Ct. Nov. 19, 2013) (similar).3

         Morgan Stanley argues that it cannot be held liable for damages absent a “tortious breach

of a separate legal duty.” MS Br. 14. In other words, according to Morgan Stanley, although

New York law precludes a defendant from insulating itself from a tort claim for gross

negligence, this case is different because Morgan Stanley merely breached its contractual

obligations in a grossly negligent manner. That argument is merely an effort to relitigate the

issue Morgan Stanley already lost in MSM 2006-13ARX , where the First Department held that

the gross negligence exception applied to a contract claim, not a tort claim. It is also squarely

contrary to Abacus Federal Savings Bank v. ADT Security Services, Inc., 18 N.Y.3d 675 (2012),

where, despite ruling that the plaintiff could not pursue a tort claim, the Court of Appeals held

that the defendant’s grossly negligent conduct rendered an exculpatory clause in a contract

unenforceable. Id. at 683-84.




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 Morgan Stanley points out that MSM 2006-13ARX was “sub judice before the New York Court of Appeals.” MS
Br. 15 n.12. But, on June 15, the parties advised the Court of Appeals that “an agreement in principle to settle th[e]
action ha[d] been reached,” and “the parties intend to withdraw the appeal.” Pl.’s 56.1 Resp. ¶ 162.


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               2.      Genuine Issues Remain Regarding Morgan Stanley’s Gross Negligence

       Morgan Stanley argues that the Trustee “cannot meet the extremely high standard for

proving gross negligence.” MS Br. 13-14. That argument flips the summary judgment burden

on its head. The Trustee does not have to prove conclusively that Morgan Stanley was grossly

negligent. To the contrary, Morgan Stanley must prove that “there is no genuine dispute as to

any material fact” on that issue. Fed. R. Civ. P. 56(a). It cannot carry that burden here.

       “[Q]uestions as to whether there was gross negligence, intent, or reckless disregard are

questions of fact.” Kerman v. City of New York, 374 F.3d 93, 116 (2d Cir. 2004); Food Pageant,

Inc. v. Consol. Edison Co., 54 N.Y.2d 167, 172-73 (1981) (similar). Gross negligence requires

conduct that “smacks of intentional wrongdoing.” Kalisch-Jarcho, Inc. v. City of New York, 58

N.Y.2d 377, 385 (1983). Such conduct “can be explicit, as when it is fraudulent, malicious or

. . . in bad faith.”   Id. (footnote omitted).   But conduct can also “smack[] of intentional

wrongdoing . . . when, as in gross negligence, it betokens a reckless indifference to the rights

of others.” Id. (emphasis added); see also Sommer, 79 N.Y.2d at 554 (“reckless disregard for [a

counterparty’s] rights”); Restatement (Second) of Contracts § 195(1) (1981) (contract terms

unenforceable if they limit liability for “harm caused intentionally or recklessly”). A party is

grossly negligent if it acts with “disregard of a known or obvious risk that was so great as to

make it highly probable that harm would follow and [does] so with conscious indifference to the

outcome.”    In re N.Y.C. Asbestos Litig., 89 N.Y.2d 955, 956-57 (1997) (quotation marks

omitted).

       The evidence produced in discovery is more than sufficient to create a genuine issue

regarding Morgan Stanley’s gross negligence. Morgan Stanley admitted to widespread abuses in

its $2.6 billion settlement with the Department of Justice that expressly covers this Trust. Pl.’s

56.1 Resp ¶ 154. Among other things, Morgan Stanley allowed its finance team to override
decisions by its due diligence teams regarding which loans had "acceptable risk," resulting in the

securitization of hundreds of loans that the due diligence teams recommended "should not be

purchased." !d.        ~ 158   (emphasis added). In complete disregard for the rights of investors,

Morgan Stanley "clear[ed] dozens of loans for purchase after less than one minute of review per

loan file."    Id.   ~ 156.    It failed to disclose that loans "did not comply with rmdenvriting

guidelines and lacked adequate compensating factors and/or had lmderstated loan-to-value

ratios." Id.   ~ 157   (emphasis added). And Morgan Stanley actively concealed its knowledge of

the loans' poor quality, telling its own employees not to document the deficiencies because

Morgan Stanley was "nllllling under the radar." !d.      ~ 161 .


       The problems Morgan Stanley acknowledged in the DOJ Settlement were especially

pronounced in this Tntst. Morgan Stanley created this securitization knowing that the originators

from which it bought loans had "problematic lending practices," Pl. 's 56.1 Resp. ~ 155; -




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       Separate and apart from all that, the reunderwriting results independently support the

gross negligence claim.




II.    MORGAN STANLEY RECEIVED NOTICE OF OR DISCOVERED ALL BREACHING LOANS IN
       THE TRUST

       Morgan Stanley’s repurchase obligation is triggered by either notice or its own discovery

of breaches. MLPA § 10. Summary judgment is not warranted on either issue.

       A.      The Trustee’s Pre-Complaint Breach Notice Put Morgan Stanley on Notice
               of Breaches Throughout the Trust

       Morgan Stanley argues, for the second time in this litigation, that the Trustee’s recovery

should be limited to the loans identified in the April 2013 breach notices. MS Br. 16. In its

motion to dismiss, Morgan Stanley argued that the Trustee “provide[d] notice of alleged

breaches only with respect to the 1,620 Mortgage Loans identified” in the notices, and that

Morgan Stanley had no obligation to repurchase the remaining loans. Dkt. 19, at 8. This Court

rejected that argument, holding that the Trustee “gave adequate notice with respect to breaching

loans beyond the 1,620 specifically mentioned.” Dkt. 47, at 5. “[G]iven the pervasive nature of

the breaches identified,” the Court ruled, Morgan Stanley “was put on notice of a more extensive

range of defective loans within the Trust.” Id. at 6.

       Evidently hoping for a second bite at the apple, Morgan Stanley makes that exact same


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argument yet again. Morgan Stanley has provided no valid basis for the Court to reverse its prior

ruling.    Morgan Stanley contends that “more is required to survive summary judgment,”

claiming that there is a “critical difference between the ‘notice’ required for purposes of notice

pleading at the motion to dismiss stage, and the ‘notice’ required under the terms of the

contract.” MS Br. 18. That argument makes no sense. Morgan Stanley is not arguing that the

Trustee has failed to prove the allegations in the Complaint. Instead, it is arguing that notice of

pervasive breaches is not sufficient under the contract to trigger its repurchase obligation for

loans that are not specifically mentioned in the notice. That is a legal argument, not a factual

one. And it is the exact same argument this Court already rejected. Because the Court’s legal

conclusion has not been “in any way altered by discovery, or by subsequent developments in the

law,” there is no reason for the Court to reconsider its prior ruling. Nobel Ins. Co. v. City of New

York, No. 00 Civ. 1328, 2006 WL 2848121, at *4 (S.D.N.Y. Sept. 29, 2006); see also DiLaura v.

Power Auth. of State of N.Y., 982 F.2d 73, 76 (2d Cir. 1992) (law of the case).

          Morgan Stanley’s argument lacks merit in any event. Morgan Stanley asserts that the

MLPA “requires actual notice . . . of material breaches in particular loans” and “does not speak

of inquiry or constructive notice.” MS Br. 16-17 (emphasis added). But “ ‘courts may not by

construction add . . . terms . . . under the guise of interpreting the writing.’ ” ACE Sec. Corp. v.

DB Structured Prods., Inc., 25 N.Y.3d 581, 597 (2015). Section 10 of the MLPA requires

Morgan Stanley to repurchase breaching loans upon either “discovering or receiving notice” of

material breaches. MLPA § 10. On its face, the MLPA does not specify any particular type of

notice that is required, let alone contain an “actual” notice requirement.

          Multiple courts – including this one, Dkt. 47, at 6-7 – have agreed that inquiry notice is

sufficient in cases against sponsors, sellers, and originators who made representations and




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warranties or originated the loans at issue. In Assured, for example, Judge Rakoff denied a post-

trial motion arguing that “knowledge as to a subset of breaches . . . is insufficient to create an

obligation to repurchase any loans not included in that subset.” 920 F. Supp. 2d at 512. That

court held that “by informing [the originator and securitizers] of pervasive breaches,” the

repurchase demand “rendered [them] constructively aware – or, at a minimum, put [them] on

inquiry notice – of the substantial likelihood that these breaches extended beyond the [noticed]

population.” Id. at 512-13 (quotation marks omitted). Numerous other courts have agreed. See,

e.g., Nomura Asset Acceptance Corp. Alt. Loan Trust v. Nomura Credit & Capital, Inc.,

No. 653390/2012, 2014 WL 2890341, at *16 (Sup. Ct. N.Y. Cnty. June 26, 2014) (“contractual

notice requirement . . . satisfied by a plaintiff ’s breach notice that refers to specific allegedly

defective loans . . . where the notice also demands repurchase of all other defective loans”); ACE

Sec. Corp. v. DB Structured Prods., Inc., No. 653394/2012, 2014 WL 1384490, at *3 (Sup. Ct.

N.Y. Cnty. Apr. 4, 2014) (similar); Assured Guar. Mun. Corp. v. DB Structured Prods., 2014

WL 3282310, at *6-7 (similar); Deutsche Bank Nat’l Trust Co. v. WMC Mortg., LLC, No. 12

Civ. 933, 2014 WL 1289234, at *10-11 (D. Conn. Mar. 31, 2014); Deutsche Alt-A Sec. Mortg.

Loan Trust, 958 F. Supp. 2d at 496 (similar); Decision One Mortg. Co., 2013 WL 6284438, at

*3-4 (similar).

       Although some courts have not followed Assured, see MS Br. 17-18 & n.14, the First

Department has since confirmed that the decision was correct. In Nomura Home Equity Loan,

Inc., Series 2006-FM2 v. Nomura Credit & Capital, Inc., 133 A.D.3d 96 (1st Dep’t 2015), the

First Department held that the trial court “correctly refused to dismiss claims relating to loans

that plaintiffs failed to mention in their breach notices.” Id. at 108. Those notices, the court

explained, “put defendant on notice that the certificateholders whom plaintiffs (as trustees)




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represented were investigating the moligage loans and might uncover additional defective loans

for which claims would be made." !d. "[B]ecause of the systemic nature of these defects," the

breaches "could hardly have escaped defendant's notice." !d. at 107. This Court is bound to

follow that holding absent "'persuasive evidence that the New York Comi of Appeals ... would

reach a different conclusion.'" Cornejo, 592 F.3d at 130. Morgan Stanley offers none.

       The Tmstee's April 2013 breach notices identified numerous violations of multiple

representations and wananties in roughly 37% of the loans in the Trust. Pl. 's 56.1 Resp. ~ 60.

The Trustee also stated that the notices "reflect[ed] only cmTent fmdings" because review of the

loan pool was ongoing, and reunde1writing "will likely uncover additional breaches." !d. That

was plainly sufficient to put Morgan Stanley on notice of breaching loans throughout the Tmst.5

       B.     The Trustee's Expert Reports Are Sufficient To Put Morgan Stanley on
              Notice of Additional Breaching Loans in the Trust

       Morgan Stanley's notice arguments fail for the independent reason that the Trustee' s

expert reports identified additional breaches, and the notice provided by those rep01ts relates

back to the timely Complaint.

       In Nomura, the First Depa1tment unequivocally held that subsequently identified

breaches relate back to the filing of a complaint. 133 A.D.3d at 108. There, "presuit letters put

defendant on notice" of specific breaching loans and of the certificateholder's ongoing review,

which "might tmcover additional defective loans for which clailllS would be made." !d. The

comi thus held that because "there were some timely clailllS ... a complaint amended to add the




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claims at issue [relating to non-noticed loans] would have related back to the original

complaints.” Id.

       Courts in this district have reached the same result as Nomura under the corresponding

Federal Rule. See Fed. R. Civ. P. 15(c). In MARM 2006-OA2, for example, Judge Castel held

that, so long as timely pre-suit notices “reserved the right to assert future additional breaches,”

breach notices “served during the pendency of [an] action relate back to . . . pre-suit notices.”

205 F. Supp. 3d at 421. An expert report served during litigation could thus “properly place[ ]

[an RMBS defendant] on notice of all breaches claimed by the [plaintiff ].” Id. at 422. Similarly,

in Homeward Residential, Inc. v. Sand Canyon Corp., No. 12 Civ. 7319, Dkt. 124 (S.D.N.Y.

Sept. 30, 2016), Judge Torres held that an amended pleading adding claims relating to 649

unnoticed loans would relate back to a timely complaint that asserted claims for only 96 loans.

Id. at 1. Citing Nomura, the court “conclud[ed] that Plaintiffs’ proposed new claims relate back

to the original and first amended complaints, both of which were timely filed.” Id. at 10; see

also Deutsche Bank Nat’l Trust Co. v. Equifirst Corp., No. 651957/2013, Doc. No. 131, at 9

(Sup. Ct. N.Y. Cnty. May 26, 2016) (repurchase demands “expressly reserv[ing] the right to

identify further breaches and to assert further claims . . . sufficient” for non-noticed loans);

Nomura, 2014 WL 2890341, at *16 (similar) (collecting cases).

       Morgan Stanley claims that “[c]ourts have reached conflicting conclusions” and urges

this Court to accept a Delaware chancellor’s interpretation of New York law over the First

Department’s holding in Nomura. MS Br. 21 & n.17, 22 (citing Cent. Mortg. Co. v. Morgan

Stanley Mortg. Capital Holdings LLC, Civil Action No. 5140-CS, 2012 WL 3201139 (Del. Ch.

Aug. 7, 2012)). But it offers no “persuasive evidence” that would justify departing from “the

law as interpreted by New York’s intermediate appellate courts.” Cornejo, 592 F.3d at 130




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(quotation marks omitted). The only Court of Appeals case it cites is a twenty-year-old decision

addressing Medicaid reimbursement regulations that expressly recognized that a proposed

intervenor could “relate its claim back if . . . [its] claim and that of the original petitioner are

based on the same transaction or occurrence.” Greater N.Y. Health Care Facilities Ass’n v.

DeBuono, 91 N.Y.2d 716, 721 (1998). And the only First Department case it cites – U.S. Bank v.

GreenPoint Mortgage Funding, Inc., 147 A.D.3d 79 (1st Dep’t 2016) – involved a defendant that

“was not notified that any of the loans . . . were in breach” before the lawsuit was filed. Id. at 83

(emphasis added). GreenPoint distinguished Nomura on precisely that basis. Id. at 88.

       The Delaware Chancery case that Morgan Stanley urges this Court to follow is even

farther afield. For one thing, it was decided before Nomura. For another, the plaintiff in that

case “specifically disclaimed ” claims relating to non-noticed loans. Cent. Mortg. Co., 2012 WL

3201139, at *19 (emphasis added). The Delaware court held that the plaintiff ’s about-face was

not permitted: “[Plaintiff ] has pointed me to no case where a complaint provides actual notice

that the plaintiff was not bringing certain claims, but a court nonetheless permitted relation back

on the basis that the defendant should have been aware from that complaint that those claims

might be asserted against it anyway.” Id. (emphasis omitted).

       Nomura controls here. There is no dispute that the Trustee’s Complaint was timely filed,

nor is there any dispute that the pre-suit breach notices “reserve[d] [the] right to give notice of

additional breaches.” Pl.’s 56.1 Resp. ¶ 60. The Trustee may thus bring claims for all breaching

loans in the Trust, including those identified in its expert reports.



                                                                                     But under New

York law, “[s]trict compliance with [a] contract’s notice provisions [is] not required, [if ]




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defendants do not claim that they did not receive actual notice or that they were in any way

prejudiced as a result of this minimal deviation.” Dellicarri v. Hirschfeld, 210 A.D.2d 584, 585

(3d Dep’t 1994); see, e.g., Platinum Equity Advisors, LLC v. SDI, Inc., No. 653709/2013, 2016

WL 3221580, at *7 (Sup. Ct. N.Y. Cnty. June 7, 2016) (notice sufficient where “[s]ellers’

Representative admit[ted] that it received the notice . . . and d[id] not claim . . . any prejudice”).

If claims have “been the subject of sufficient correspondence to make them well known,”

“complete technical compliance with the notice of claim requirements [is] not necessary.” Abax,

Inc. v. Lehrer McGovern Bovis, Inc., 8 A.D.3d 92, 93 (1st Dep’t 2004). Morgan Stanley does

not deny that it now has actual notice and does not claim that it suffered any prejudice from the

manner in which it received that notice. The notice was therefore sufficient.

       C.      Genuine Disputes Remain Regarding Morgan Stanley’s Discovery of the
               Breaches

       Morgan Stanley’s notice arguments fail for the third independent reason that genuine

factual disputes remain regarding Morgan Stanley’s independent discovery of the breaches.

               1.      Morgan Stanley’s Due Diligence Supports an Inference of Discovery

       In denying Morgan Stanley’s motion to dismiss, this Court held that the “defect rate

documented in the breach letter may support an inference that [Morgan Stanley] already had

knowledge of the representation and warranty breaches based on its due diligence.” Dkt. 47, at

7. Discovery has since borne that out.




                                                                    And Morgan Stanley has since



                                                 27
publicly acknowledged that it was aware that loans in this Trust “did not comply with

underwriting guidelines and lacked adequate compensating factors.” Id. ¶ 157.




Court after court has held that a high breach rate is “sufficient to support a reasonable inference

that defendant discovered widespread breaches” in cases against sponsors, sellers, or originators

who made representations and warranties or originated the loans at issue. Home Equity Asset

Trust 2007-2 v. DLJ Mortg. Capital, Inc., No. 651174/2013, 2014 WL 4966127, at *1 (Sup. Ct.

N.Y. Cnty. Oct. 1, 2014), rev’d on other grounds, 140 A.D.3d 518 (1st Dep’t 2016) (addressing

attorney’s fees); ACE Sec. Corp. v. DB Structured Prods., No. 651936/2013, 2014 WL 4785503,

at *6 (Sup. Ct. N.Y. Cnty. Aug. 28, 2014) (“[sponsor’s] role in the securitization, together with

. . . allegations as to the widespread nature of the breaches, . . . sufficient to support a reasonable

inference that defendant discovered widespread breaches”); see also Assured Guar. Mun. Corp.

v. Flagstar Bank, FSB, No. 11 Civ. 2375, 2011 WL 5335566, at *7 (S.D.N.Y. Oct. 31, 2011)

(similar); Nomura, 2014 WL 2890341, at *15 (due diligence reviews supported inference of

discovery); Saco I Trust 2006-5 v. EMC Mortg. LLC, No. 651820/2012, 2014 WL 2451356, at

*8 (Sup. Ct. N.Y. Cnty. May 29, 2014) (“post-closing audit and quality control reviews”

supported inference of discovery). Drawing all inferences in favor of the Trustee, as Rule 56

requires, there is ample evidence of Morgan Stanley’s independent discovery of breaches – at the

very least a genuine dispute of material fact remains.



       Morgan Stanley urges that “discovery” requires “actual knowledge of loan-specific

breaches.” MS Br. 16, 17. Even assuming that “actual knowledge” is the standard, the Trustee




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has satisfied it. A party has “knowledge” of a breach when it “has knowledge of all material

facts necessary to understand” that a breach has occurred. Caputo v. Pfizer, Inc., 267 F.3d 181,

193 (2d Cir. 2001). The Trustee thus need only prove knowledge of facts that amount to

breaches. See Fish v. GreatBanc Trust Co., 749 F.3d 671, 679 (7th Cir. 2014) ( “ ‘[A]ctual

knowledge’ ” requires “knowledge of the ‘essential facts,’ ” not “knowledge of every last

detail.”).

         Morgan Stanley thus had “actual knowledge” of any breach that was apparent during due

diligence.




                                                                                           At a minimum, genuine

disputes remain regarding Morgan Stanley’s actual knowledge of these essential facts.6

                  2.        Morgan Stanley Was Willfully Blind to the Breaches

         Alternatively, the Trustee may “rely on evidence of willful blindness . . . to prove that

[Morgan Stanley] had knowledge that the representations and warranties had been breached.”

MARM 2006-OA2, 205 F. Supp. 3d at 425; see also MBIA Ins. Corp. v. Countrywide Home

Loans, Inc., No. 602825/2008, 2013 WL 1845588, at *5 (Sup. Ct. N.Y. Cnty. Apr. 29, 2013)

(similar). “The principle that willful blindness is tantamount to knowledge is hardly novel.”


6
  Morgan Stanley seizes on language from briefs submitted in other cases by Deutsche Bank National Trust Co. as
Trustee for other trusts governed by other contracts. MS Br. 16. But it neglects to mention that those briefs cite
authority for the proposition that an RMBS sponsor’s discovery of breaches can be proven by evidence of (1) the
sponsor’s own due diligence; (2) forensic analysis revealing “obvious and widespread breaches”; and
(3) identification of specific breaches in the trust at issue. See Pl.’s 56.1 Resp. ¶¶ 55-56. That is precisely the sort of
evidence the Trustee has presented here. Morgan Stanley also neglects to mention that the issue in those cases was
whether the trustee should have discovered breaches solely by virtue of its limited role in those securitizations.
Those briefs thus shed no light on the issue in this case: Whether Morgan Stanley, who, as Sponsor, made specific
representations and warranties about the quality of the loans and conducted due diligence on the loans, discovered
the breaches. See ACE, 2014 WL 4785503, at *6 (“[sponsor’s] role in the securitization, together with allegations as
to the widespread nature of the breaches, . . . sufficient to support a reasonable inference that defendant discovered
widespread breaches”).


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Tiffany (NJ) Inc. v. eBay Inc., 600 F.3d 93, 110 n.16 (2d Cir. 2010) (collecting cases). New

York courts frequently apply the concept in contract cases. See, e.g., Carr v. Marietta Corp.,

211 F.3d 724, 732-33 (2d Cir. 2000); MCC Proceeds, Inc. v. Advest, Inc., 293 A.D.2d 331, 334

(1st Dep’t 2002) (considering willful ignorance in conjunction with notice).

       A party “is ‘willfully blind’ or engages in ‘conscious avoidance’ amounting to knowledge

where [it] ‘was aware of a high probability of the fact in dispute and consciously avoided

confirming that fact.’ ” Viacom Int’l, Inc. v. YouTube, Inc., 676 F.3d 19, 35 (2d Cir. 2012). To

the extent Morgan Stanley did not have actual knowledge of the breaches, it lacked that

knowledge only due to its “conscious avoidance.”




III.   WHETHER BREACHES MATERIALLY AND ADVERSELY AFFECT                        THE   INTERESTS   OF
       CERTIFICATEHOLDERS IS A FACT QUESTION




              But “the question of the materiality of a breach ‘is usually a question of fact and

should be decided as a matter of law only where the inferences are certain.’ ” Orlander v.

Staples, Inc., 802 F.3d 289, 298 (2d Cir. 2015) (emphasis added); see also Cont’l Ins. Co. v. RLI

Ins. Co., 161 A.D.2d 385, 387 (1st Dep’t 1990) (similar); Kuhbier v. McCartney, Verrino &

Rosenberry Vested Producer Plan, No. 14 Civ. 888, 2017 WL 933126, at *18 (S.D.N.Y. Mar. 8,



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2017) (similar) .



                                                         “ ‘[W]here, as here, there are conflicting expert

reports presented, courts are wary of granting summary judgment.’ ” Harris v. Provident Life &

Accident Ins. Co., 310 F.3d 73, 79 (2d Cir. 2002) (alteration in original); see SEC v. Razmilovic,

738 F.3d 14, 35 (2d Cir. 2013) (similar). Thus, there is no basis on which to grant summary

judgment on the issue of materiality.

         A.       The Trustee’s Experts Offered Sufficient Analysis To Support Their
                  Materiality Determinations



                                 Those arguments fail. A breach is material if it increases the “risk of

loss,” regardless of whether that risk “actualizes.” Wells Fargo Bank, N.A. v. JPMorgan Chase

Bank, N.A., No. 12 Civ. 6168, 2014 WL 1259630, at *4 (S.D.N.Y. Mar. 27, 2014). Thus, “[i]n

order to prove that a breach ‘materially and adversely affects’ the Certificateholders, the

Trust[ee] . . . may . . . prove that the breach increased the risk of loss to the Certificateholders.”

MARM 2006-OA2, 205 F. Supp. 3d at 468.7




7
  See also Assured Guar. Mun. Corp. v. Flagstar Bank, FSB, 892 F. Supp. 2d 596, 603 (S.D.N.Y. 2012) (a party
proves materiality by showing that a breach “caused [a party] to incur an increased risk of loss”); Syncora Guar. Inc.
v. EMC Mortg. Corp., 874 F. Supp. 2d 328, 339 (S.D.N.Y. 2012) (similar); Homeward Residential, Inc. v. Sand
Canyon Corp., 298 F.R.D. 116, 131 (S.D.N.Y. 2014) (similar); MBIA Ins. Corp. v. Countrywide Home Loans, Inc.,
105 A.D.3d 412, 413 (1st Dep’t 2013) (similar).


                                                         31
                                                                  accord Fed. Hous. Fin. Agency v.

Nomura Holding Am., Inc., 104 F. Supp. 3d 441, 525 (S.D.N.Y. 2015) (“[A] borrower’s

misrepresentation of income or debt” is a “defect[ ] that cannot be cured.”); id. at 528 (“It is

universally recognized that owner occupancy is a critical factor in assessing credit risk.”). Judge

Cote has praised Mr. Hunter’s “careful loan by loan analysis” of materiality, noting that “[h]is

methodology was essentially sound.” Id. at 531 (emphasis added); see id. (“[Mr. Hunter] was an

impressive witness, with intimate familiarity with . . . the reasons for his decisions.”).




                                                                                An expert report that

“stat[es] the facts upon which the expert’s opinion is based” is sufficient to avoid summary

judgment “even if the data supporting the facts is not attached.” Iacobelli Constr., Inc. v. County

of Monroe, 32 F.3d 19, 25 (2d Cir. 1994). If the report “explains precisely what was reviewed

and the general bases for [the] opinion,” that is enough. B.F. Goodrich v. Betkoski, 99 F.3d 505,

526 (2d Cir. 1996), clarified on other grounds, 112 F.3d 88 (2d Cir. 1997) (addressing successor

liability under CERCLA).




                                                                        See, e.g., MARM 2006-OA2,

205 F. Supp. 3d at 469 (“[c]umulative effect of multiple breaches may support a finding that a




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breach materially and adversely affected the interests of Ce1tificateholders.").




II


-
       B.




                                               33
IV.    THE TRUSTEE PROPERLY INTERPRETS THE REPRESENTATIONS AND WARRANTIES

       A.      Section 10(b)(5) of the MLPA Covers Any “Error,” “Misrepresentation,” or
               “Negligence,” Including Failure To Adhere to Underwriting Guidelines

       MLPA § 10(b)(5) provides that “[n]o fraud, error, omission, misrepresentation,

negligence or similar occurrence . . . has taken place . . . in the origination” of the loans. MLPA

§ 10(b)(5). That language includes noncompliance with underwriting guidelines.

       “In interpreting a contract under New York law, ‘words and phrases . . . should be given

their plain meaning.’ ” LaSalle Bank N.A. v. Nomura Asset Capital Corp., 424 F.3d 195, 206 (2d

Cir. 2005); Syncora Guar. Inc. v. EMC Mortg. Corp., 874 F. Supp. 2d 328, 335 (S.D.N.Y. 2012)

(similar); Nomura, 133 A.D.3d at 107-08 (similar).




                                                 see Pomahac v. TrizecHahn 1065 Ave. of Ams.,

LLC, 65 A.D.3d 462, 465 (1st Dep’t 2009) (“A defendant’s failure to adhere to its own internal



                                                34
guideline or policy may be . . . negligence.”).




       Morgan Stanley argues that the plain-language reading of § 10(b)(5) would render

superfluous representations concerning compliance with underwriting guidelines in certain other

RMBS agreements. MS Br. 32. But the provisions of those other contracts are irrelevant to the

interpretation of this contract.



                                                                         see, e.g., Nomura, 424

F.3d at 206 (warranty requiring property to have fair market value of 80% of loan did not render

superfluous another warranty requiring a “qualified mortgage” with 80% fair market value);

Home Equity Mortg. Trust Series 2006-5 v. DLJ Mortg. Capital, Inc., No. 653787/2012, 2014

WL 317838, at *8 (Sup. Ct. N.Y. Cnty. Jan. 27, 2014) (inflated appraisal breached both

compliance with guidelines warranty and LTV warranty); see also Nomura, 133 A.D.3d at 108

(MLPA “remedies are cumulative”). At the very least, where there are multiple reasonable

interpretations, “the meaning of the words become[s] an issue of fact and summary judgment is

inappropriate.” Seiden Assocs., Inc. v. ANC Holdings, Inc., 959 F.2d 425, 428 (2d Cir. 1992).

       Morgan Stanley argues that the Trustee failed to prove that the errors, omissions,

misrepresentations, and negligence took place “to the knowledge of MSMCH.” MS Br. 30-31.

That argument fails. It is not the Trustee’s burden to prove Morgan Stanley’s knowledge beyond

dispute on summary judgment. To the contrary, Morgan Stanley must prove that “there is no

genuine dispute as to any material fact” regarding its knowledge. Fed. R. Civ. P. 56(a). It




                                               35
cannot carry that burden here.

                                                                                  see, e.g., Gadsden

v. Port Auth. Trans-Hudson Corp., 140 F.3d 207, 209 (2d Cir. 1998) (denying summary

judgment where there was evidence of knowledge); MARM 2006-OA2, 205 F. Supp. 3d at 425

(evidence of willful blindness sufficient to prove defendant’s “knowledge that the

representations and warranties had been breached”). This claim should proceed to trial.

       B.      The MLS Representation Guarantees That the Information in the MLS Is
               “Complete, True and Correct”

       Section 10(a)(1) of the MLPA represents that “[t]he information set forth in the Mortgage

Loan Schedule relating to the Mortgage Loans is complete, true and correct.” MLPA § 10(a)(1).

Morgan Stanley argues that this representation guarantees only “that the information in the loan

file was completely . . . reflected on the MLS,” not that the information in the Mortgage Loan

Schedule was actually correct. MS Br. 34. The plain language belies that interpretation. The

representation states, without qualification, that the information on the Mortgage Loan Schedule

was “complete” (i.e., contains all relevant, available data), “true” (i.e., not false), and “correct”

(i.e., not wrong). It does not provide merely that the data was correctly transcribed.

       Court after court has rejected Morgan Stanley’s position. In MARM 2006-OA2, the court

held that the argument that “the MLS Warranty is ‘more reasonably read as a transcription rep’

. . . is not supported by the language of the PSAs,” and that the representation instead “imposes

a form of strict or absolute liability for a materially untrue or incorrect statement on the MLS.”

205 F. Supp. 3d at 428-29 (emphasis added). “[C]ommon sense” dictates that “the point of the

representations and warranties is to guard the purchaser against the credit risks associated with

bad loans,” not to provide “typo-protection.” Homeward Residential, Inc., 298 F.R.D. at 130

(emphasis added); see also Bank of N.Y. Mellon v. WMC Mortg., LLC, 136 A.D.3d 1, 6-7 (1st



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Dep’t 2015), aff ’d, 28 N.Y.3d 1039 (2016) (“[T]he language . . . is straightforward: if false

information . . . was on the Mortgage Loan Schedule . . . it constitutes a breach.”); MBIA Ins.

Corp. v. Credit Suisse Sec. (USA) LLC, No. 603751/2009, 2017 WL 1201868 (Sup. Ct. N.Y.

Cnty. Mar. 31, 2017) (“The MLS Warranty states that ‘[t]he information in the Mortgage Loan

Schedule’ is actually ‘true and correct,’ not that it merely reflects the information in the loan

file.” (emphasis omitted)).




                                                                 .9

        C.       The LTV Representation and Warranty Guarantees That the Loan-to-Value
                 Ratio of the Property Is Not Greater Than 100%

        Section 10(b)(21) of the MLPA represents that “[n]o MSMCH Represented Mortgage

Loan has an LTV greater than 100%.” MLPA § 10(b)(21); see also AARA Ex. B ¶ (o) (similar).




9
 In any event, the definition of “Mortgage Loan Schedule” simply sets out certain categories of information that
must be included in the document; it does not limit other categories that may also be included. See MLPA § 1.



                                                      37
        That intetpretation is unreasonable on its face. "It is black-letter law that comis must

reject intetpretations of agreement provisions that are c01mnercially unreasonable or illogical."

Wells Fargo Bank, NA. v. Wrights Mill Holdings, LLC, 127 F. Supp. 3d 156, 173-74 (S.D.N.Y.

2015) (collecting cases)); see also Galli v. Metz, 973 F.2d 145, 149 (2d Cir. 1992) ("[A]n

intetpretation that 'gives a reasonable and effective meaning to all tetms of a contract is

generally prefened to one that leaves a pati unreasonable or of no effect.'"). The far more

reasonable reading is that, if the LTV based on the actual value of the property is greater than

100%, the representation and wananty is breached. Analyzing materially indistinguishable

contract language, the comi in Nomura concluded that, Dr. Kilpatrick's proprietaty

methodology, showed that "the representations conceming LTV ratios were false." 104 F. Supp.

3d at 567 1

        D.       The USPAP        Representation    and   Warranty    Guarantees     "Credible"
                 Appraisals

        Section 1O(b)(20) of the MLPA represents that the "appraisal" for the loans "satisf[ies]

the requirements of [1] Fannie Mae or Freddie Mac and [2] Title XI of the Financial fustitutions

Reform, Recovety, and Enforcement Act of 1989." MLPA § 10(b)(20); see also AARA Ex. B

, (nn) (similar).



-             That is inconect.




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                                                                                                       As the court in

Nomura held, Dr. Kilpatrick’s “findings of non-credibility . . . present sufficient circumstantial

evidence of bias to permit a determination that the appraisers produced appraisals that they knew

did not accurately describe the value of these properties.” 104 F. Supp. 3d at 508-09.

V.       MORGAN STANLEY IS REQUIRED TO REPURCHASE ACCREDITED, WMC,                                                  AND
         FREMONT LOANS

         A.       Morgan Stanley Must Repurchase Accredited Loans

         Morgan Stanley argues that, because the Trustee entered into a stipulation during

Accredited’s bankruptcy releasing all claims against Accredited, it “extinguish[ed] Morgan

Stanley’s backstop obligations.” MS Br. 39. The release’s plain terms foreclose that argument.

         The release discharges claims only against “the Debtors” – i.e., Accredited and other

specifically “Released Parties,” such as the bankruptcy trustee – not Morgan Stanley. Pl.’s 56.1

Resp. ¶ 123 (emphasis added). The release thus does not apply to claims against Morgan

Stanley, which is not a party to the agreement. See In re Saint Vincents Catholic Med. Ctrs. of

N.Y., 398 B.R. 517, 521 (Bankr. S.D.N.Y. 2008), aff ’d, 417 B.R. 688 (S.D.N.Y. 2009)

(bankruptcy order “has no application to a claim asserted . . . against a non-Debtor third

party”).11




11
   Even if Accredited’s release did purport to encompass claims against Morgan Stanley, “a [nondebtor] release is
proper only in rare cases” not applicable here. In re Metromedia Fiber Network, Inc., 416 F.3d 136, 141 (2d Cir.
2005); In re Saint Vincents, 398 B.R. 517 at 520 (“Nothing in the Bankruptcy Code authorizes or permits a release
or discharge of claims asserted against non-debtor third parties . . . [or] bar[s] claims against third parties seeking to
impose liability for the third parties’ own derelictions.” (citation omitted)); Roman v. Hudson Tel. Assocs., 11
A.D.3d 346, 347 (1st Dep’t 2004) (similar).


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        Morgan Stanley relies on cases holding that a creditor’s release of claims against a

principal debtor also releases the guarantor’s obligations. MS Br. 39. Those cases are beside the

point – Morgan Stanley is not Accredited’s guarantor or surety. See Foresco Co. v. Oh, 210 F.

Supp. 3d 604, 609 (S.D.N.Y. 2016) (“[A] legally cognizable guaranty must be a written

instrument that describes with precision: (1) the relevant parties and their particular roles; (2) the

amount of the obligation at issue; and (3) the intent to guarantee the obligation.”).

        B.       Morgan Stanley Must Repurchase WMC and Fremont Loans

        Morgan Stanley finally asserts that it is not liable for loans originated by Fremont and

WMC because they are not “MSMCH Represented Mortgage Loans.”                               MS Br. 40.       That

argument flies in the face of the MLPA, which provides that “[i]n the case of any such breach of

a representation or warranty set forth in this Section 10 . . . MSMCH will . . . purchase the

affected Mortgage Loan at the applicable Purchase Price.” MLPA § 10 (emphasis added). That

provision unambiguously requires Morgan Stanley to repurchase all breaching “Mortgage

Loans,” not just MSMCH Represented Mortgage Loans. See id.12

        Morgan Stanley also argues that § 10(b)(5)’s “no fraud, error, omission, misrep-

resentation, [or] negligence” representation and warranty applies only to MSMCH Represented

Mortgage Loans. But the MLS representation and warranty, applies to all “Mortgage Loans.”

MLPA § 10(a)(1). Every Fremont loan in breach of § 10(b)(5) breaches § 10(a)(1), and all but 12

WMC loans breaching § 10(b)(5) breach § 10(a)(1). Thus, even if § 10(b)(5) does not apply,

Morgan Stanley must repurchase all Fremont and WMC loans that breach § 10(a)(1).

                                               CONCLUSION

        Morgan Stanley’s motion for summary judgment should be denied in its entirety.

12
   While the preceding sentence refers to breaches “in any of the MSMCH Represented Mortgage Loans,” MLPA
§ 10, that sentence refers only to Morgan Stanley’s obligation to provide notice of the breach, not the repurchase
obligation. The Trustee’s failure to notify claim is no longer before the Court. See Dkt. 47, at 13-14.


                                                       40
June 22, 2017
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2017, I electronically filed the foregoing redacted

Plaintiff's Memorandum of Law in Opposition to Defendant's Motion for Summary Judgment,

and the accompanying redacted Plaintiff's Response to Defendant's Local Rule 56.1 Statement

of Undisputed Material Facts and Plaintiffs Statement of Additional Facts, as well as the

Declaration of Justin V. Shur and its exhibits, using the CM/ECF system, which sent a notice of

electronic filing to all ECF registered participants, and I caused unredacted copies of the

foregoing to be served on counsel of record for Morgan ~ederal Express.




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